             Case 1:19-cv-02608-KNF Document 41 Filed 04/24/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
FRANKLIN MOISES OSORTO ESCOBAR,                                          :
individually and on behalf of others similarly                           :
situated,                                                                :
                              Plaintiff,                                 :
                                                                         :
                    -against-                                            :              ORDER
                                                                         :          19-CV-2608 (KNF)
27 MADISON AVENUE CORP. (D/B/A ESSEN),                                 :
ESSEN22, LLC (D/B/A ESSEN), KYEONG HWANG,                                :
JOSEPHINE KIM, JOHN BYUN, CHONG BYUN,                                    :
WILLIAM BYUN, and MYONG BYUN,                                            :
                              Defendants.                                :
-----------------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

          This action was brought pursuant to the Fair Labor Standards Act and the New York Labor

Law. The parties resolved their dispute, during a settlement conference convened by the Court.

Thereafter, the parties memorialized, in a written settlement agreement, the terms and conditions under

which they agreed to resolve their dispute. See Docket Entry No. 32. That document was submitted to the

Court for its review and approval. The Court reviewed the agreement, held a conference with the parties

to discuss it and, during that conference, directed that the settlement agreement be revised. The parties

have revised their agreement, see Docket Entry No. 38, which the Court has reviewed. Based on the

arm’s-length negotiations had during the settlement conference referenced above, and the Court’s review

of the parties’ revised written settlement agreement, the Court finds that the settlement agreement is fair

and reasonable; therefore, the Court approves the settlement agreement. The Clerk of Court is directed to

record this action as terminated, on the docket sheet maintained for this action.

 Dated: New York, New York                                            SO ORDERED:
        April 24, 2020
